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UNITED STATES pistreate

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DISTRICT OF MARY DANDD PM 3: 33
Northern Division COURT

William Whittman

7805 Edmunds Way

Elkridge, MD 21075

samigjoka@ yahoo.com
Plaintiff

Vs

Penske Automotive Group, Inc.

2555 S Telegraph Rd,

Bloomfield Hills,

MI. 48302 - 0912, USA

The Mercedes Benz Financial Services USA LLC
P.O. Box 685,
Roanoke, TX 76262

PAG Chantilly M1 LLC
2555 Telegraph Rd.,
Bloomfield Hills MI 48302

Mercedes-Benz of Chantilly
14841 Stonecroft Center Ct,
Chantilly, VA 20151

Phone: (703) 952-5615

Bert O'Neal

The General Manager of PAG Chantilly M1 LLC
14841 Stonecroft Center Ct, Chantilly, VA 20151
Phone: (703) 952-5615
boneal@penskeautomotive.com

United Auto Care, Inc.
22 GRANDVIEW DR..,
RADFORD, VA, 24141

Toyota Financial Services
5005 N River Blvd NE,
Cedar Rapids, [A 52411
Phone 800-255-8713

TOYOTA MOTOR INSURANCE COMPANY
5005 N River Blvd NE,
Cedar Rapids, [A 52411

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BANKRUPTCY,
STRICT OF MARYLAND

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Phone 800-255-8713 )
)

Toyota Insurance Management Solutions USA, LLC )
21061 S. Western Ave., Suite 200 )
Torrance, CA 90501 )
)

TOYOTA MOTOR INSURANCE SERVICES, INC. )
6565 Headquarters Dr # W2-5A, )
Plano, TX, 75024, USA )
Defendants )

COMPLAINT

Plaintiff William Whittman, "pro-se" brings this action for relief, in this Federal Court,

based on Complete Diversity Jurisdiction for Bad Faith Claim, stating as follows:

1. Plaintiff is a resident of the State of MD and None of the Defendants, is Domiciled
in Maryland.
2. Bad Faith is a Recognized Claim upon which relief can be granted, entitling

plaintiff to Actual, Consequential and Punitive Damages.

3; Plaintiff holds each and every defendants joinily and severely liable for the sought
relief,

4, Plaintiff seeks $6,80,000.00, for Actual and Consequential Damages, as well and
his pain and or suffering, for all has gone through and still goes through for almost 2 years, and
that he did not have to, had these defendants not acted in bad faith or in the alternative plaintiff
requests whatever amount the jury finds right and just and

5. Plaintiff seeks a) Punitive Damages as determined by the jury and b) legal fees, if
legal representation is to be hired, and c) court cost.

6. This Action is within the Statute of the Limitation and

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7. This Bad Faith Claim is Tort and not a Contract Based even with the application
of the Va. Law that does not contemplate a bad faith tort claim for what is essentially a breach of

contract action. (Bettius Sanderson, 839 F.2d at 1016-17).

PARTIES

8. Plaintiff is a Maryland resident and his address is: 7805 Edmunds Way, Elkridge,
MD 21075 and none of the Defendants is domiciled in.

5. PENSKE (Penske Automotive Group, Inc) is a MI and DE Company, authorized
to transact business in VA (VA SCC ID No. T0396483), and its Principal Office Address is: 2555
Telegraph Rd. Bloomfield Hills MI, 48302, with its registered agent where to serve the process
as:

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

10. Mercedes Financial (Mercedes Benz Financial Services USA LLC is a, MI
Company, Founded in 2007 but NOT REGISTERED with the VA SCC, having such no
recognizable registered agent to be served, and it is for their failure to designate the agent that
plaintiff is forced to serve this defendants at the defendants principal office address, as:

Mercedes Benz Financial Services USA LLC.,
P.O. Box 685,
Roanoke, TX 76262.

11. PAG (PAG Chantilly MI LLC) is a MI and DE Company, authorized to transact

business in VA (VA State Corp. ID No. T0396483) with its Principal Office Address at: 2555

Telegraph Rd. Bloomfield Hills MI, 48302, and it is registered agent where to serve the process

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12.

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

Chantilly Benz (Mercedes-Benz of Chantilly, is MI and DE Company, (VA SCCC

ID No. T0396483), authorized to transact business in VA, with its Principal Office Address at:

14841 Stonecroft Center Ct, Chantilly, VA 20151, (Phone: (703) 952-5615) and it is registered

agent where to serve the process is:

I's.

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

Bert O'Neal, is a natural person, the General Manager of the PAG Chantilly M1

LLC., and or Chantilly Benz and his known office address to serve the process is:

14.

Bert O'Neal
14841 Stonecroft Center Ci,
Chantilly, VA 20151).

UNITED (United Auto Care, Inc., is an inactive VA Company, (sham company,

in this case) (See Exhibit 3), and its registered agent to recive the service of process is:

1S.

SEAN JESSIE
22 Grandview Dr.,
Radford, VA, 24141 - 0000.

Toyota Financial (Toyota Financial Services, is an inexistent (inactive) fraudulent

and sham company, not registered to transact any business in Virginia, and the only place to

serve this defendants is its purported address as the address of the company hiding behind this

sham entity that is the address of TOYOTA MOTOR INSURANCE COMPAWY at:

Toyota Financial
5005 N River Blvd NE,
Cedar Rapids, [A 52411.

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16.

Toyota Motor Insurance (TOYOTA MOTOR INSURANCE COMPANY) is a

California company, authorized to transact business in Virginia (VA SCC ID No. F 1062522),

with its Principal Office Address at: 5005 N River Blvd NE, Cedar Rapids, IA 52411 and it is

registered agent where to serve the process is:

Li.

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

Toyota Solutions (Toyota Insurance Management Solutions USA, LLC, is a

Delaware-domiciled company (Licensed Insurance Agency) with its principal place of business

at: 21061 S. Western Ave., Suite 200 Torrance, CA 90501, authorized to transact its Insurance

Activities in Virginia with VA SCC ID No; TV70/6+41 and it is registered agent where to serve

the process is:

18.

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

Toyota Motor Inc, (TOYOTA MOTOR INSURANCE SERVICES, INC.) is a

California company, authorized to transact business in Virginia (with VA SCC ID No.

F1136789), with its Principal Office Address at: 6565 Headquarters Dr # W2-5A, Plano, TX,

75024, USA and it is registered agent where to serve the process is:

19:

CT Corporation System,
4701 Cox Rd, Suite 285
Glen Allen VA 23060.

JURISDICTION AND VENUE

This Federal Court, has jurisdiction over this action based on complete diversity

with none of the defendants domiciled in MD where plaintiff resides and the amount dispute is

well beyond the 75K threshold and

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20. | The venue is proper based on plaintiff's address in MD.

LEGAL BASIS

21. As detailed, in the Statement of Facts, when plaintiff purchased his Mercedes-
Benz Car, from the Chantilly Benz Location, on June, 14, 2019 for a total sales' price of
$37,248.42, all these defendants, (car dealership, financing institution and insurance provider)
were, directly or indirectly, involved in selling plaintiff an additional car insurance, called GAP
that made the sale of the car more appealing to plaintiff, giving plaintiff a piece of mind that in
case he lost his car to theft or accident, he would be completely covered and pay nothing, if his
traditional car insurance (Trexes) would not pay off the entire balance on the car loan.

22. Working in concert with each other and for each other’s interest, defendants in
this case, engaged in unlawful acts to cheat and deceive plaintiff into a fraudulent Insurance
Contract, hiding, behind sham after sham companies the real insurance provider, to prevent
plaintiff from seeking justice, if plaintiff became eligible for the coverage that could not be
denied based on that contract that was itself a product of bad faith.

22. Therefore, each the defendants, is jointly and severely, liable for the relief sought.

24. This bad faith claim is within the Statute of Limitation, with acts giving rise to
this cause of action, having come to light on and/or after Jan. 6, 2019, when plaintiff filed his
GAP Claim.

2a: The Parties in this Action are residents of different states, but since the acts giving
rise to this claim, originated in Virginia, VA State Law, most likely, apply.

26. Applying the Va. Law, the first issue for this Court to decide is determining if this

TORT or CONTRACT based, bad faith claim

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27. Although Va. Law does not contemplate a bad faith tort claim for what is
essentially a breach of contract action, (Bettius Sanderson, 839 F.2d at 1016-17), the court will
find out that this particular bad faith claim is tort and not contract based because bad faith acts
of these defendants, lie beyond the scope of the contract and because, the Contract Itself , in this
case is a product of bad faith.

28. These Penske defendants’ refusals to explain, even to this day, despite plaintiff's
numerous written requests to them (O'Neal & Chantilly Benz & Mercedes Financial & Toyota
Financial & PAG and Mercedes Benz Legal Department Representative, Deirdre Thomas, who
claimed to be an attorney for Mercedes Benz while an attorney for Toyota Defendants), how and
why they have intentionally misrepresented in the Gap that the Gap Provider, is United, which is
not and how and why they have misrepresented in this same contract in another paragraph that
the Provider is a company called Program Administrator which is another falsity, and how and
why they have provide in that Contract a phone number to supposedly belong to either United or
the Program Administrator, while the number belongs to none of this false and fraudulent, sham
enteritis but rather to, yet, another sham false and fraudulent entity called Toyota Financial, that
is not a known legal entity or a legally known DBA of any legal entity authorized to transact
insurance services in VA or anywhere in the country, for this matter, except telling stating that
the real provider is Toyota Motors that had been hermetically concealed from plaintiff till that
time is deplorable and stupendous beyond belief, making this bad faith tort and not contract
based.

29, Defendants acts here establish a will tort, and the fraudulent contract here is a

result of such bad faith willful tort,

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30. Even if this court will conclude that based on Va. Law this bad faith still should
be treated as contract based, Virginia Law, still recognizes punitive damages for bad faith, even
for breach of contract action if established, that the defendant’s acts were a willful tort, as are
here, based on Kamlar, 299 §.E.2d at 518.

31. Furthermore, even if this Court is to conclude that based on VA law, this bad faith
claim still remains contract based action, the United States Court of Appeals for the Fourth
Circuit has held in Bettius Sanderson, 839 F.2d at 1017, that still: “Va. Law, retains the means to
punish and deter insurers acting in bad faith to pay judgments in excess of the policy limits when
the insurer in bad faith mishandles the disposition of a claim. Id. at 1016, at 1016-17”.

32. Furthermore, although Virginia Law does not recognize a separate tort for bad
faith, because Virginia law punishes and deters insurers from acting in bad faith through
legislation, Virginia Law, still recognizes punitive damages for bad faith, even for breach of
contract action if established, that the defendant’s acts were a willful tort. (Kamlar, 299 S.E.2d at
518).

33. When plaintiff became eligible for the coverage and filed his GAP Claim the
GAP Provider(s) refused to pay for the claim, using different bad faith tactics to delay and deny
such as irrelevant pretexts and excuses as the driver who stole and crushed plaintiff's car was
drunk, or that the other traditional insurance was not paying its part, or that the financing
institution had not provided them the pay off, or that they though he was insured at the time of
the accident, or that they needed this or that information that was provided to them before, or that
they did not know he had filed for a claim, all to delay and deny, in bad faith a valid claim and to
give plaintiff the run around, till the time to honor the claim would expire. And requiring from

plaintiff the same information and documents, provided to them, over and over again and asking

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and purposefully not identifying what exact documents they needed to pay the claim, to delay
and deny in bad faith, and furthermore blame plaintiff for their acts of bad faith.

34. Plaintiff's car was declared a total loss on Dec, 12, 2019 when plaintiff's son
Arbin stole his car in the middle of the night and crushed it resulting in a total loss.

35. Plaintiff notified the police about this act of his son on that same day (around 2
AM, that night) and plaintiff son was charged and arrested for this and was send directly from
the emergency room where he was treated for his wounds, to a mental hospital for kids.

36. Plaintiff did all he was supposed to do, notify the police his son had no perdition
to drive and file his car insurance claim, and his son was arrested and charged.

37. Plaintiff called that day, Dec 12, 2019, his traditional car insurance "Trexes, and
filed the claim with them, believing that Trexes would pay, in good faith its part of the claim,
and that GAP would cover whatever reaming car loan balance.

38.  Trexes first denied the claim under the pretext that the driver of the car was drunk,
and tried to avoid paying the claim using different dishonest tactics such as demanding from
plaintiff even the decree of his divorce, that plaintiff found completely irrelevant, intruding and
abusive to force him give up the claim but plaintiff cooperated nonetheless providing them
whatever they demanded, not to give them an excuse to deny the claim in bad faith.

39. While Trexes was refusing to pay the claim, Mercedes Financial was sending
plaintiff notices of the outstanding car loan payments.

40. Plaintiff asked Mercedes Financial, for this reason, on Jan, 6, 2019 to see if they
had any leverage to force Trexes pay its part of the claim, since they, (Penske Defendants) would

end up paying the entire amount owned, based on GAP Insurance, if Trexes did not pay its part.

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41. Mercedes Financial told plaintiff that they, were not the Gap Provider and gave
plaintiff the (800) 255-8713) number to reach the GAP Provider.

42. That day, Jan, 6, 2019, plaintiff called the "GAP Provider" and learned that the
provider was, supposedly, a company called Toyota Financial, that is completely false and a
fraudulent misrepresentation.

43. Toyota Financial demanded to record plaintiff, if he wanted to file his GAP Claim
and plaintiff agreed, to it, because this requirement was not presented as an option, assuming his
claim would be denied, if he did not agree to it.

44. The Toyota Financial representative Jimmie A. who refused to give her full name,
as a company policy, told plaintiff that his claim was 371GMK and at the end of the
conversation, told plaintiff that they were denying the claim, just as Trexes had done, because the
driver was drunk.

45. Plaintiff protested this, as irrelevant and then Jamie A. said to plaintiff that if the
traditional car insurance denies the claim they do the same.

46. Plaintiff protested, again saying to Jamie A that they should make their own
decision, independent of the other insurance but this was ignored by GAP.

47. Trexes, did, in fact pay its part of the claim a few weeks later to Mercedes
Financial.

48. On February 11, 2020, Mercedes Financial confirmed Trexes' payment, and told
plaintiff, that Trexes had paid or was paying $24,289.29, leaving a balance of $6,568.58 for the
Gap Provide to pay, if payment was made by February 13, 2020.

49. Plaintiff called, that day Toyota Financial to inform GAP Provider that Trexes

had paid its part and that the payoff for them, was $6,568.58, if paid by February 13, 2020.

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50. Toyota Financial assured plaintiff, that day, February 13, 2020, that they were
going to pay the reaming balance within 5 business days, and that the payment would take place
on or before the Fe, 16 of that month and yet.

S51. As of April of 2020 they had not made any payment and plaintiff received a letter
from Toyota Financial that was written on or before March 9, 2020. (titled; SECOND
NOTIFICATION) demanding from plaintiff some documents, that plaintiff had no clue, what
documents they wanted from him. Having not specified what exactly they needed from him and
yet

52. That March 9, 2020 request for some unspecified documents was rendered Moot
and irrelevant, because 4 days after that letter appears to have been written, Toyota Financial,
had already told plaintiff that they had approved his claim and that they were making the
payment to Mercedes Financial, within 5 days but

53. As of May, 5, 2020 Toyota Financial had failed to pay its share and Mercedes
Financial wrote to plaintiff that the reaming balance, remained outstanding.

54. Plaintiff called Toyota Financial, for this reason, on June 10, 2020 and found out
that Toyota Financial had again reversed its decision and denied his claim because the driver was
drunk.

55. When plaintiff demanded to know how that is relevant, Toyota Financial changed
the story again and told plaintiff that they had not yet made their decision but they would see
what Trexes does first.

56. When Plaintiff told them that their dishonest tactic made no sense and that they,

knew that they were lying because, Trexes had paid its part, since 4 months ago which means he

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was insured, they changed the story again, stating that they had denied the claim because Trexes
had denied it first.

57. When Plaintiff asked them how can you deny the claim if the traditional insurance
denies it but don’t pay for the claim if the traditional insurance pays for it, as Trexes had done,
they changed he story again, stating that if the traditional insurance denies or try to deny a claim,
they consider the insured as uninsured.

58. | When Plaintiff demanded, to know how they considered him now that Trexes had
paid its part they changed the story again, that plaintiff had told them, when he first filed the
claim that he had no insurance, in the time of the accident.

59. When Plaintiff requested they produce the evidence he supposedly had said that,
since they recorded him when he filed the claim, they said we can't because we destroy the
record because we recorded it for training purposes only.

60. When Plaintiff then told them that he (plaintiff) was going to record them now,
because they were changing their story every single time, Toyota Financial, warned plaintiff that
he cannot do that and changed again their story, telling plaintiff that they had not denied his
claim but needed the payoff information from his financing institution in order to pay the claim,
which, was, yet, another lie and a trick to delay and deny because plaintiff had given them the
payoff information since February 11, when they assured him that they were going to pay their
part, on or before Feb. 16th, 2020.

61. And yet plaintiff agreed to get the pay off information from Mercedes Financial,
and promptly provide it to them again.

62. | When plaintiff asked them their e-mail address so plaintiff could e-mail them in a

the payoff, they told plaintiff that they are not allowed to provide him with their e-mail, which

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was a surprise to plaintiff because e-mail was quicker and safer and traceable, and Trexes, his
tradition insurance, in fact preferred e-mail communications.
63. When Plaintiff asked them how come, in this day and age when everyone
communicates via e-mail they refuse this kind of communication, they said: "this is our policy”.
64. When plaintiff asked them why then they do not request the payoff directly from
Mercedes Financial, since they work together and Mercedes Financial is the one who sold their
product to plaintiff and the one now needed to get paid, they said, "they should contact us and
not the other way around. because they want to get paid".
65. Plaintiff called that day, the Mercedes Financial Loss Recovery Department at | -
866- 652- 2523 and explained to them that Toyota Financial was asserting that they had not paid
them because they, Mercedes Financial had not send them (Toyota) the payoff information.
66. Plaintiff asked Mercedes Financial why they who are the one who sold him the
GAP Insurance, and who were claiming that the amount to be paid to them by GAP was not paid
were not cooperating now with the Gap Provider for the provider to pay them the reaming
balance they kept demanding from plaintiff.
67. Mercedes Financial said to plaintiff that they do not do that, and that all other
GAP Providers, they work with, reach out to them and demand from them the payoff
information, but Toyota Financial had not done that.
68. Plaintiff asked, Mercedes Financial, to send him the payoff information via e-mail
so plaintiff would print and fax it as instructed to Toyota,
69. Mercedes Financial e-mailed plaintiff that day, June 10, 2020, the payoff, and the

next day, on June 11, plaintiff faxed Toyota Financial, the payoff and yet

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70. As of January 20, 2021, more than half a year since plaintiff provided Toyota with
the payoff information, and more than a year since plaintiff filed the claim, they still had failed
and were refusing, in bad faith, to pay the claim.

71. On January 20, 2021, plaintiff found out that Mercedes Financial had send his
name for to collection.

72. This derogatory bad credit, because of the unlawful acts of bad faith of these
defendants has tremendously jeopardized plaintiff's ability to earn his living and care for his
family because plaintiff, is a Licensed Maryland Real Estate Agent and Maryland requires a
credit check on all its agents, before reasoning the license, every 2 years

73. This consequential harmful act of bad faith has tremendously harmed and injured
plaintiff who because of such harm and injury has suffered tremendous pain and suffering and
financial losses of about $250,000.00 for a home he could not buy at a less than half its value,
because of his ruined credit by acts of these defendants. (The landlord who no longer wanted to
keep the property plaintiff was renting, offered to sell it to plaintiff, though her real estate agent,
James Spencer, for a price far below the make value, if plaintiff was going to buy it as, before
moving out).

74. Plaintiff is a single father of 2 severely depressed children who rely on medical
treatment to get by and plaintiff's older son, is mentally disabled, making it extremely hard for
plaintiff to find a decent home to live, even with good credit, let alone now with his completely
ruined credit because of the acts of bad faith of these defendants.

75. Plaintiff has searched from lender to lender if he could get a loan to buy that

house, that was a house his children like since it was next to a church and next to a soccer field

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and lost him around 200K or more he could have made in this deal, and no lender would be able
to provide him with a loan, with that amount of money in collection.

76. Only a few months earlier, before these defendants ruined his credit, by refusing
to pay a valid claim and by penalizing him for that, plaintiff had excellent credit and was
approved in the spot for a commercial loan that is much harder to get than a residential loan that
plaintiff now could no longer get.

bbs When Plaintiff informed his landlord's real estate agent that he could not get a
loan to buy that house. the landlord notified plaintiff on March 29, 2021, that she was not going
to renew the lease, requiring plaintiff to vacate the property by the end of the lease term (April,
30, 2021).

78. Searching for a rental home with a ruined credit plaintiff found out that it was
more difficult to get approved as a tenant than to qualify to buy in the current real estate market.

79. Being pressed to find a roof for his kids before the landlord would be forced to
evict him plaintiff was offering to pay the entire annual rent upfront, costing him away more than
people would need to put down for a loan to purchase their home and still he was not getting
approved anywhere he looked.

90. Plaintiff was taking painstaking affords to find a home with pain and suffering he
had never had experienced to locate a place to live before his credit was ruined and was
searching form as far south as Fredericksburg in Va. and Gainesville and Frederick, west up to
Baltimore north and Annapolis east and still no one wanted him with ruined credit, in this time
with rental demand being too I and supply too limited.

81. And because he could not find a decent place to relocate even with the entire

annual rent paid upfront as shown in more details in the statement of the facts, plaintiff was

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unable to relocate and the landlord was forced to evict plaintiff worsening plaintiff's already
ruined credit and making it even worst for plaintiff to provide for the family means of survival
all because acts of bad faith for greet of these defendants.

82. The allegations in this Complaint (see the statement of Facts with supporting
evidence, incorporated, as parts of the exhibits to be presented during trial, for the jury to
determine the facts), make it clear for this Hon. Court that plaintiff ; 1) has stated his claim for
which relief is available, 2) has proved with particular sufficiency that he is entitled for the
sought relief, and 3) has given defendant fair notice of the claim and the grounds upon which it
rests, (Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1964 (2007)) and 4) has shown that this is not
a collection of labels and conclusions, or formulaic recitation of the elements of a cause of
action. (Bell Atl. Corp. v. Twombly ), rather, the facts here speak for themselves, “res ipsa
loquitur”

83. Even if this Hon. Court will consider this action contract and not tort based, still
Va. Law, still Virginia courts, have recognized and made Punitive Damages availble if the
breach of contract establishes the elements of an independent, willful tort. (Kamlar, 299 S.E.2d
at 518), and punitive damages here are such available, either way.

84. Insurance companies exist to make money for themselves by providing coverage
to their insured, and money they should make, as much as they can, but not by denying valid
claims in bad, as they did here.

85, Insurance companies make money and are designed to be profitable even if they
pay all the claims, in good faith.

86. As muchas it is a moral obligation and reasonable duty of ordinary care, the

insurance companies are required by law to give equal consideration to the policyholder and not

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look only at their interest and profit that can be greater and undeserved when denying a perfectly
valid claim, for greed and in bad faith

87. Plaintiff ‘s entitlement to consequential damages lies in the fact that the
consequential damages that the plaintiff has suffered are foreseeable and specifically identified to
have driven from their acts to deny, in bad faith a claim that cannot be denied, except bad faith
and furthermore from their act to penalize plaintiff with character injury (ruined credit), for their
and not plaintiff's failure to pay the remaining car loan balance, covered by GAP.

88. Defendants, in this case, have been and are in the driver’s seat, and have
tremendous financial resources and strength that the plaintiff does not have, and used such
disproportion strength and financial means to arbitrarily, and with no legal basis, deny the claim
they could not have denied, had they acted in good faith,

89. Led by their corporate greed for about 2 years, defendants have done nothing but
give plaintiff the run around, to exhaust and discourage plaintiff from demanding what he is
entitled and it is the Proximate Cause of their Bad Faith & Unfair Business Practices that: 1)
has made it impossible for plaintiff to provide a decent roof for his kids, even with the entire
annual rent paid in full and in advance, & 2) has jeopardized plaintiff's profession and work,
that requires good credit, & 3) has lost plaintiff tremendous amount of money, with; (a) about
250 thousand dollars lost on the house he was renting alone that his landlord offered to him for
a huge discount, if he bought it as is, and before moving out and (b) forcing plaintiff to pay,
incredible dollar amount, that no one should be forced to pay (the entire annual rent, upfront, in
full and in advance for any place desperate not to see his family being evicted and thrown out of

their home, because of the unlawful acts of these defendants) and paying for rent, what others, in

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similar circumstances don’t even have to pay, as down payment and closing costs combined, to
purchase their own home.

90. Under the common law torts theory, an insurer owes its policyholders a duty of
good faith and fair dealing due to the special relationship between the parties.

91. To prove a common law claim of bad faith plaintiff, as the policyholder is
required show the court only two elements: (1) that the benefits due under the policy were
withheld, and (2) that the reason for withholding benefits was unreasonable and plaintiff has
shown this with such satisfactory level and degree to survive the challenge of any 12(B)(6)
Motion to Dismiss,

92. The Courts have long identified that actions, that have occurred here evidence bad
faith such as: a) misrepresenting relevant facts or insurance policy provisions; b) failing to
acknowledge a claim and to act promptly afier receiving it; c). failing to either approve or deny
claims within a reasonable time after the insured has submitted proof of loss; and d) failing to
provide a reasonable explanation or reasons for denying the claim.

83. As to the legal basis for suing Bert O'Neal, the only issue for the court to resolve
is the determination of the corporate veil needs to be pierced before holding Mr. O'Neal liable for
his own acts of reckless negligence and failure to exercise his ordinary duty of care toward his
customer clients, his company had defrauded and betrayed.

94. Though Mr. O'Neal might assert he is personally shielded by the Corporate Veil,
why acting under the capacity of the company, the Corporate veil does not protect the individuals
against their own acts of negligence and recklessness.

95. Plaintiff has been demanding from Bert O'Neal for more than half a year to

explain why his company has fraudulently represented that United is plaintiff's insurance

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provider, while this is a intentional and deliberate falsity to conceal the identity of the real
provider.

96. Bert O'Neal has refused and refuses till this day to explain to plaintiff why his
company concealed in the Gap Contract that his company drafted, the real Insurance Provider
and why they have lied with the intent to defraud who the real provider is.

97. Bert O'Neal has a duty of reasonable care to plaintiff, to explain why they have
defrauded him or at least mistakenly made such false representation

98. Defendant's O'Neal acts have themselves already pierced the Corporate Veil and
such O'Neal bears the responsibility of his own acts of recklessness and negligence, that are not

protected by any corporate veil, regardless if acting under the capacity of the company or not.

THE STATEMENT OF FACTS
99. On June, 14, 2019 plaintiff went to Chantilly Benz, in Chantilly Virginia, to buy a
new car.
100. Chantilly Benz is owned by Chantilly Penske Automotive Group, Inc., (PENSKE)
& PAG Chantilly M1 LLC, Mercedes Benz Financial Services USA LLC "PAG"
101. Penske Automotive Group, Inc., according to the Penske Compnay Website,
(www.penskeautomotive.com) is, an international company that operates automotive

dealerships in the United States, and other parts of the world.

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“ABOUTUS CONTACT CAREERS

 

102. The sale's personnel, at Chantilly Benz told plaintiff that they provide 100%
financing through their, Mercedes Financial, and that they provide an additional car insurance,
called GAP.

103. GAP, they explained covers the balance between the Actual Value of the car and
the unpaid car loan amount, if the car is declared a total loss, through theft or accident.

104. | With GAP Insurance, they said, plaintiff would pay nothing if he lost his car to
theft or accident, as explained in the Total Loss Protection Section of the Gap Provider's

Brochure, incorporated bellow.

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Filling the GAP

Your current auto insurance may not ba enough if your vehicle is declared a total loss. Often times
the primary auto insurance settlement is based on the market value of the vehicle, which could be

less than the balance still owed on your finance or lease contract.

Guaranteed Auto Protection (GAP} waives or pays the balance (minus certain fees and charges)
between the amount still owed on your finance or lease contract and your auto insurance
settlement.

Total Loss Protection

if your car is declared a total loss through theft or accidental damage and you still owe more on

 

your finance or lease contract, GAP may reduce or even eliminate your remaining balance.

 

105. Plaintiff liked this additional Insurance and this GAP Insurance played a role in
plaintiff s decision to buy this car, that day, from Chantilly Benz.

106. Plaintiff purchased that day a 2016 C-Class Mercedes-Benz, for a total sales’
price of $37,248.42 and the Gap Insurance, as reflected on Line 4D of the "Retail Installment
Sale Contract".

107. Mercedes Financial, and Chantilly Benz, who sold plaintiff that day the GAP
Insurance, provided plaintiff, that day, with a copy of the GAP Contract.

108. On December 12, 2019, around 2 AM, plaintiff's minor child, Arbin had stolen
plaintiff's car and crushed it resulting in a total loss.

109. Plaintiff informed the police that day that Arbin had stolen his car and Arbin was
charged and arrested for that and first send to a mental hospital, as suicidal, after he was treated
in the Emergency Room for the wounds he had endured, during the crash/

110. Plaintiff called that day, December 12, 2019, his tradition car insurance, Trexes,

to report the accident and file the claim.

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111. Trexes, first tried to deny the claim, stating that the driver was drunk.

112. Plaintiff protested their decision to deny on improper basis and Trexes tried to

find other excuses to deny the claim, for almost 2 months.

113. While Trexes was refusing to pay the claim, plaintiff was getting letters from
Mercedes Financial that the loan was becoming delinquent.

114. Plaintiff called Mercedes Financial, for this reasons, on Monday, Jan 6, 2020, and
asked Mercedes Financial if they had any leverage to force, Trexes pay, the claim they were
denying, in bad faith, since Mercedes Financial would end up paying the entire balance if Trexes,
did not pay its part, under the GAP Insurance.

115. The representative for Mercedes Financial told plaintiff that they, were not the
Gap Provider and gave plaintiff the Gap Provider s phone as 800 255-8713, telling plaintiff to
call GAP.

116. Plaintiff called the 800 number and founded out that his GAP Provider was

Toyota Financial Services, which turned out to be false and fraudulent.

117. That day, on 1, 6, 2020 The representative for Toyota Financial told plaintiff that
they had to record the conversation, if he wanted to file the claim and asked plaintiff if he was

Ok. with it.

118. Plaintiff agreed to recording, under the impression that it was mandatory, since it

was not presented as an option to plaintiff.

119. The representative’s name was Jaimie A. and she refused to give her full name,

stating their company does not allow them, to give out their full names.

120. Jamie A, provided plaintiff with his claim number, as 377GMK.

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121. After plaintiff explained what had happened and the recording finished Jamie A,

told plaintiff, they were denying the claim, because the driver was drunk.

122. When plaintiff asked how is it relevant, Jamie A said that if the tradition
insurance denies the claim they do the same.

123. Plaintiff protested, telling her that they should make their decision, independent of
the other insurance but his argument was ignored and made no difference.

124. Trexes, however, paid its part of the claim, a month later, on Feb. 2020 but the
Gap Provider still did not.

125. On February 11, 2020, plaintiff called Mercedes Financial and spoke with Cantina
Colton to confirm that Trexes had paid its share of the laon,

126. Cantina Colton told plaintiff, that Trexes had paid or was paying $24,289.29,
leaving a balance of $6,568.58 for the Gap Provider, if the payment was made by 2, 13, 2020.

127. Plaintiff then, called, Toyota Financial and spoke, that same day, with Kyle, who
just as Jamie A, refused to tell plaintiff her full name.

128. Plaintiff told Kyle that Trexes had paid its part and that the remaining balance for
Toyota Financial to pay was $6,568.58, if paid by February 13, 2020.

129. Kyle told plaintiff, that day, on 2, 13, 2020, that they will pay their share within 5
business days, and that the payment would take place on or before the 16" of that month.

130 On April of 2020 plaintiff received a letter from Toyota Financial that was
written on March 9, 2020. (titled; SECOND NOTIFICATION).

131. The text of that letter claims that GAP had reversed the decision to pay the claim

because they had allegedly demanded some documents, without specifying what document they

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exactly needed to approve the claim that plaintiff was not aware of.

SE TOYOTA

 

 

FINANCIAL SERVICES

Customer Service Center - Central
P.O. Bow 9550
Cedar Rapids. 4 52407-9550

MARCH 69, 2020

WILLIAM WHITTMAN
3800 POWELL LN UNIT 425
FALLS CHURCH, VA 220413663

Agreement No,; GAPOT725261 == oo

amet WILLIAM WHITTMAN
Date of Loss: DECEMBER 12, 2019
VIN: WDDWF4KBSGR 143308

 

RE: SECOND NOTIFICATION OF INCOMPLETE CLAIM DOCUMENTATION
Dear WILLIAM WHITTMAN:

JANUARY 07, 2020, Toyota Financial Services (TFS) was notified that you might have a potential Guaranteed
© Protection (GAP) claim. As of MARCH 09, 2020, we have not received the documentation required by the
erms of your GAP agreement to process your claim

Unfortunately, we cannot process your claim until all of the documentation is received. If the requested
locurmentation is not received within 30 days from the date of this letter, the claim file will be closed. ff the
jocumentation is received after your file has been closed, the file will be reopened and processed.

FS values you as a customer and appreciates this opportunity to review your request. If you have any questions,
lease contact the TFS GAP Customer Service Department at 800-255-8713 between the hours of 7:00 a.m. and
:00 p.m. CST, Monday through Friday and 8:00 a.m. and 1:00 p.m. CST, Saturday.

incerely,

oyota Financia! Services

 

132. Toyota Financial, was now demanding some documents that plaintiff does not
know even to this day what specific documents they requested because none of the documents, is
needed to approve the claim has ever been specified, anywhere in the letter or in many phone
calls, despite plaintiff's painstaking efforts to provide to them whatever they need for them to

honor the claim as he has paid for.

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133. Mercedes Financial wrote to plaintiff and informed plaintiff that as of May, 5,
2020 the GAP Provider had failed to pay the claim and that the reaming balance, remained

outstanding.

05/05/20

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WALLIAM WHIT TMAN
3800 POWELL LN
FALLS CHURCH VA 22041-3687

RE: Account Number. 5001195739001 -
Balance: $6,708.57

Dear Customear(s):

The balance* shown above remains outstanding and owed to Mercedes-Benz Financial Services. This will serve
as our final notice regarding this balance.

We have attempted to resolve this matter amicably and have not reached a resolution on the balance, Please
send the balance in full immediately. If we have not received the balance in full in good funds within 15 days of
the date of this letter, the account will be referred to a collection agency or attorney and will be reported as a
charge off to the credit reporting agencies.

Please include your account number on your remittance and mail it to:

Mercedes-Benz Financial Services
PO Box 5209
Carol Stream, IL 60197-5209

 

You can also contact us at (855) 794-4487 for alternate payment options.
fee for payments by phone.

134. Plaintiff called, for this reason, Toyota Financial, on June 10, 2020 and spoke
with a representative who introduced himself as Kevin, refusing to give his full name.

135. Plaintiff asked Kevin, why they had not paid the claim while Trexes had already
paid its part since 4 months ago and they had promised him they would pay their part by 2, 16,

2020

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136. Kevin said that they had denied his claim because the driver was drunk.

137. When plaintiff insisted to know why do I care if the driver who stole and crushed
my car was drunk or not, Kevin changed the story and said they had not yet made their final
decision but they would wait and see what Trexes does first, something that made no sense to
plaintiff, since Trexes had already paid its share since 4 months ago and they knew it.

138. Plaintiff repeated to Kevin that Trexes had already paid its part, and that they
were playing tricks, with him to delay and deny, changing their story, every single time.

139. Kevin then said that the reason they had denied his claim was because plaintiff
was uninsured at the time of the accident.

140. This arrogant and arbitrary denial of the fact that plaintiff was insured and they
knew it to be false since Trexes had already paid their part of the claim insulted and made
plaintiff angry to be taken for a fool and to be played like a little kid with cheap and dishonest
tactics that made no sense and that could not have be made, so grossly, by any decent person or
entity and plaintiff asked Kevin to stop this cheap tactics, in bad faith because he (Kevin) himself
had just stated before that they denied his claim because Trexes had denied, his claim first, which
mean, he was insured.

141. Kevin then said to plaintiff that he was reading some notes and then changed his
story again, stating that they denied the claim because Trexes had denied it first not because he
had no insurance at the time of the accident.

142. Plaintiff asked Kevin to stop dancing around, and asked Kevin to tell him how if
the Trexes deny his claim made them deny it too but when Trexes paid the claim did not make

them pay>

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143. Kevin than said, to plaintiff that if your car insurance denies your claim we
consider you uninsured, that made no sense to plaintiff.

144. Plaintiff demanded, to know then how they considered him now that Trexes had
paid its part of the claim, insured or not insured.

145. Kevin changed his position again, telling plaintiff that plaintiff had allegedly told
them when he filed the claim that he did not have car insurance, at the time of the accident,
which was another arbitrary and dishonest lie.

146. Plaintiff responded angry to Kevin and said to him: "You, recorded me on
January 6, when I filed the claim, so please produce the evidence, based on the recorded
evidence, that I have said this because I never did and this is a despicable lie".

147. Kevin then said, we destroy the conversations, because we record you for training
purposes only.

148. Plaintiff then told Kevin that plaintiff was going to record him, since they were
changing his story every second.

149. Kevin warned plaintiff not to record him and changed his position again, telling
plaintiff that they had not denied his claim but needed the payoff information from his financing
institution before the pay off the claim.

150. This demand, to plaintiff, was, yet, another dishonest tactic to delay and deny
because plaintiff had given them the payoff information since February 11, when he spoke to
Kyle, and per Kyle’s statements, Toyota Financial was to pay the reaming balance since Feb.
16", and yet:

151. Plaintiff asked Kevin for their e-mail address so plaintiff could e-mail them the

payoff information right away.

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152. Kevin said we don’t give out our e-mail address.

153. Plaintiff was surprised to hear this and he took it for another trick, of theirs to
delay and deny, more for the fact that all his communications with his traditional car insurance,
Trexes, was done via e-mail.

154. Plaintiff asked Kevin how come, in this day and age when everyone
communicates via e-mail you refuse e-mail communication.

155. Kevin said: "this is our policy”.

156. Plaintiff then asked Kevin if plaintiff could e-mail the document to Kevin’s
personal e-mail address so Kevin could download and print and provide them to his company,
promptly and quickly.

157. Kevin said no, it is not allowed, and gave plaintiff their fax number, as 319-221-
3064 for plaintiff to fax the payoff information.

158. Plaintiff asked Kevin why they do not request the payoff directly from Mercedes
Financial, then since they do not want to communicate with him via e-mail and more for the fact
that Mercedes Financial and Toyota Financial were in fact working together, as one, here, since
it was the Mercedes Financial who sold him their GAP Product.

159. Kevin said that Mercedes Financial is the one who needs to get paid and they
should contact them and not the other way around.

160. Plaintiff called that day the Mercedes Financial Loss Recovery Department at | -
866- 652- 2523 as soon as he hanged up with Kevin and spoke with a Mercedes Financial called

Desmond.

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161. Plaintiff explained to Desmond that Toyota Financial had not paid them the
balance still owed on the car, because Toyota Financial was claiming, they, Mercedes Financial
had not send them the payoff information and
162. Plaintiff asked Desmond, why they, who sold him the GAP Insurance, and who
were claiming that the amount to be covered by GAP was outstanding, were not sending the
payoff to the Gap Provider.
163. Desdamon said, that they (Mercedes Financial) don't do that, and that all the other
GAP Providers, they work with, reach out to them and demand from them the payoff
information, but Toyota Financial has not done this, in his case.
164. Plaintiff asked Desdamon, then, to send him (plaintiff) the payoff information, via
e-mail so plaintiff would print and fax it to Toyota Financial, as instructed by Kevin.
165. Mercedes Financial e-mailed plaintiff that day, June 10, 2020 the payoff.

MERCEDES BENZ FINANCIAL

Terminated Schedule 5001195733/1
Hon+eguiated first class financing for WILLIAM WHITTMAN
Cash Flow

Currency: USD

Prevailing Lessee PTO: 3.99000%

Rates: Fixed

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New Encrypted Message from Mercedes-Benz Financial Services

 

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q To: samigicka@yahoo.com
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Secure Email Message

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Registration Page:
User ID: i
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166. Plaintiff downloaded the documents, printed and faxed them, as soon as he got

them, (the next day, on June 11. 2020), to Toyota Financial's fax number as shown bellow.

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167. And yet, as of January 20, 2021, more than half a year since plaintiff provided
them with the payoff information, again and more than a year since plaintiff had filed his claim
they still failed and refused to pay this claim, in bad faith.

168. On January 20, 2021, plaintiff found out that Mercedes Financial had send him to
collection for that unpaid balance.

169. Plaintiff felt betrayed, by both Toyota Financial and Mercedes Financial, because
ti was Mercedes Financial who sold plaintiff Toyora Financial this Gap Insurance Product and
both were doing all they could to make sure the GAP did not end up to pay the claim, but
plaintiff was forced instead to pay it from his own pocket, as if both these companies were in fact

one and the same under different names, bad faith and fraudulent, heinous ordeal

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SRA ASSOCIATES OF NEW JERSEY A RS
f YSRA.ON ANE

SS8-274-2897
Send Correspondence to:
112 W. Park Dr. Suite 200
Mt. Laurel, NJ 08054

January 7, 2021
CREDITOR: Mercedes Benz Financial Services USA LLC
CREDITOR ACCT. # 3001195739001
OUR ACCT, # U078496?
BALANCE DUE: $6,931.51
DEAR WILL TAM WHITTMAN =
Your Mercedes Benz Financial Services USA LLC aecoun! has been placed with our office for collections. To pay the balance in full,
vou may visit our website at PAYSRALONLINE.
This is a hichiv unusual time as we all do our best to navigate the comstaadly changing pandemic situation that has impacted so many
people throughout the country. Thus, if you are unable to address the balance owed and would like assistance, please Contact us so we
can explore options that may be available to you. You may serd corespandences to our address listed above.

As noted above, as of the date of this letter, you ow! $6.93).51. Because of interest, that may vary from day to day, the amount due on
the day you pay may be ereater. Hence, if yor pay the amount shown above, an adjustment may bé necessary after we receive your
payment. If an adjustment is made, we may attempt to contact you acai about the adjustment.

IMPORTANT) CONSUMER NOTICE 1
UNLESS YOU NOTIFY THIS OFFICE WITHIN 20 DAYS ALTER RECEIVING THIS NOTICE THAT YOU DISPUTE THE
VALIDITY OF THE DEBT OR ANY PORTION THEREOL. THIS OFFICE WILL ASSUME THE DEBT IS VALID. IF YOU |
NOTIFY THIS OFFICE IN WRITING WITHIN 30 DAYS APTER RECFIVING THIS NOTICE THAT YOU DISPUTE THE |

 

 

170. This collection for a dept that plaintiff did not own had that they know that
plaintiff does not owe them, harmed and injured plaintiff immensely because plaintiff no longer
is able to provide a roof for his family that plaintiff would have had no problem to provide had
these defendants not ruined his credit with their unlawful acts of fraud and bad faith.

171. Plaintiff is a single father of 2 severely depressed children and plaintiff's older
son, is mentally disabled, making it not easy for plaintiff to find a decent home to live, even with
good credit, let alone now with the credit ruined because of the acts of bad faith of these
defendants.

172. Since plaintiff's older son lost his mind, plaintiff has learned how hard it it is to
find a place to live in his situation and having his name in collection and a having his credit

ruined did not help the situation.

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173. Denying a rental place to a mentally disabled child is a violation of fair housing
laws, but refusing to rent based on bad credit is perfectly reasonable for the house providers to
deny tenancy that could not have been denied, had these defendants not acted, in bad faith.
174. On the other hand, making things worse for plaintiff, plaintiff's ability to provide
for his family was now jeopardized because, plaintiff works as a real estate agent and this has
been plaintiff's only profession since 1999 and MD Real Estate Commission requires a credit

check on all its agents, before reasoning the lance, every 2 years.

LICENSE * REGISTRATION * CERTIFICATION ” PERMIT

STATE OF MARYLAND
MARYLAND DEPARTMENT OF LABOR

REAL. ESTATE COMMISSION

CERTIFIES THAT:~ ~~
WILLIAM WE PORTMAN: ~

PROPLOCATE REALTY:

3800 POWELL AN: &:

SUITE COTAL LS Ping |
FALLS CHURCH Ss ‘a, VA 22041

EXPIRATION EFFECTIVE. -CONTROL_NO_ -
12-23-2022 N/A . B6 16366 TE

175. From April of 2020 to April of 2021 plaintiff, was renting a house in Severn MD.

176. Sometime around February of 2021, the landlord's real estate agent, James
Spencer contacted plaintiff and told plaintiff that the landlord did not want to hold this house any
more, with the house having a lot of problems to be fixed and that if plaintiff was willing to buy
it before he moved out and buy it in as is condition she would sell away below the market value,
and that with some updates and renovations, would profit plaintiff easily some 2-300 thousand

dollars, being in a very desired location., as this home was.

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177. Plaintiff had, by that time already learned that Mercedes Financial had sent him
to collection for the balance that Toyota Financial had refused to pay, in bad faith and his credit
to buy real estate was now completely diminished.

178. Plaintiff, asked, however, his loan officer, Time Nguen, who had given plaintiff a
few months’ earlier, before these defendants ruined plaintiff's credit, a commercial loan, if they
Tim's mortgage company, would give him a loan.

179. Tim informed plaintiff that plaintiff no longer qualifies and that he would not be
able to get a loan till the collection has been cleared out and the credit repaired.

180. Plaintiff informed the landlord's agent that he could not buy the house.

181. The landlord notified plaintiff, on March 29, 2021 the that she was not renewing

the lease, notifying plaintiff to vacate by the end of the lease term, (April, 30, 2021).

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March 29, 2021

Mr. Willlam Whittman
102 Burns Crossing Road ;
Severn, Md. 21144 . /

Dear William,

Please be Informed that this will serve as written notice, per your leas€’
agreement, that your lease will be terminated on April 30, 2021. I've enclosed a copy
of our “Tenant Vacating Instructions”. Please call us to set up your check out
Inspection and turn over your keys,

William, If you have any questions regarding the above, please do not hesitate to
contact us at 410-975-3024,

Sincerely, ,

Cay

Constance Giddings
Champion Realty Property Management

 
 
  

182. Plaintiff started to searching for a new place to rent, but wherever plaintiff looked,

with the rental market being incredibly hot, good credit was required.

183. Plaintiff was forced to look as far as Would bridge and Manassas in Virginal, to
Annapolis and Baltimore in Maryland, and still no one was willing to accept him, as a tenant

with his name in collection and his credit ruined.

184. Only a few months earlier, before these Penske defendants placed the amount
they (Toyota Defendants) and not plaintiff had refused to pay to Mercedes F inical, plaintiff's

credit was very good and he was qualified for a commercial loan, that is harder to obtain.

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Advantage Credit
da Credit Reporting Services
32065 CASTLE COURT SUITE 300, EVERGREEN, Co 80439

Phone: 800-670-7993 * 303-670-7993
Fax 800-670-8067

 

 

Add Product
MERGED INFILE CREDIT REPORT

 

 

 

PREVIOUS ADDRESS 3326 WOODBURN VILLAGE OR, #112. ANNANDALE, VA 22003"

ALE £ 5661760 FNMA g DATE COMPLETED G/A2019 ROD BY TIEN NGUYEN
SEND TO COMMONWEALTH FINANCIAL SVCS DATE ORDERED = WAr2UTY

CUST. #6139 REPOSITORIES XPITWEF PRPD' BY

216 E BROAD ST STE 203 PRICE LOAN TYPE

FALLS CHURCH, VA 22646 REF. # Sami Gjoka
PROPERTY ADDRESS

APPLICANT CO-APPLICANT
APPLICANT WHITTMAN, WILLIAM CO-APPLICANT
SOc SEC # XXX-XX-XXXX BOB 4/20/1982 s0t SECS DOB
MARITAL STATUS UNMARRIED DEPENDENTS
CURRENT ADDRESS 3800 POWELL LANE, #425, FALLS CHURCH, VA 22041" LENGTH
LENGTH

 

 

“SCORE MODELS

 

AQUI AUFICO CLASSIC V5 FACTA- WILLIAM WHI! | FAAN - 5/81 S84
SCORE: 688 :

WUUSU - UCRLUGAIURT PUbLIL MOUURU UR ULE UN PLE
00018 - NUMBER OF ACCOUNTS WITH DELINCUENCY

00016 - LACK OF RECENT REVOLVING ACCOUNT INFORMATION
00015 - LACK OF RECENT BANK REVCLVING INFORMATION

FA- NUMBER OF INQUIRIES ADVERSELY AFFECTED THE SCORE, BLT NOT SIGNIFICANTLY

185. Now plaintiff had a huge dent in his credit preventing him from finding even a

cheap place to live.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PROPERTY ADDRESS
APP! ICANT CO-APPLICANT
APPLICANT WHITTMAN. WILLIAM CO-APPLICANT
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Scheduled ($) 275 275 275 \

Actual ($) 275,275 278 = 2

|

Balance ($) | 4280 «4508 «4760 : .| . .
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B B WELLS FARGO oad O52 $300 $0 $0 2 0 O@ O PAID

44264410 18023089 og12 REV $0 lf

ACCOUNT CLOSED BY CREDIT GRANTOR, SECURED CREDIT CARD

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f XPATUEE

Me EIN Sy 05/21 og/is $33394 $6708 $0
1 1 12/19 AUTO 86 -

Late Dates: 20-30

DEBT BEING PAID THROUGH INSURANCE

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186. While plaintiff could not find a place to relocate, the time to vacate was
approaching and he was growing extremely actions, and worry and desperate, not only because
his extremely depressed kids would be thrown out of their home, but also because his credit
would get even worst with an eviction added to his already ruined credit due the bad faith acts of
these Defendants.

187. With no one accepting him as a tenet, in desperation to find a place to shelter his
family before being evicted by the court, plaintiff contacted his loan officer Tim, again to see if
they would consider him for a loan with a a much larger down payment than usual.

188. Tim run plaintiff's credit and informed plaintiff that even with a larger down
payment they could not help him with the collection and with his credit.

189. Time for plaintiff to move out run out and the landlord was forced to sue for

eviction under Tenant Holding Over Claim.

 

 

 

 

 

 

 

 

% DISTRICT COURT OF MARYLAND FOF ‘del County
City/County
Located at 7500 Ritchie Highway, Glen Burnie Case No Dd -07 -CA Al-Oll Lf C
Court Adis 7 .
Champion Property Mgt. f for Venus Lillybridge William Whittman
(Piaintify VS. Tenant (Delendanty
815 Ritchie High Suite 21) 102 Burns Crossin: ad
Address Address
Severna Park, Md. 21146 eV!
— Severn, Md. 21144 ea tears

 

 

COMPLAINT AND SUMMONS AGAINST TENANT HOLDING OVER
(Real Property § 8-402)
The cornplaint of the plaintiff shows:

The plaintiff is lessor of the premises in or near Severn _ Maryland, located at 102 Burns

Crossing Road . and the defendant occupied the premises as periodic tenant or
unlawfully holds the premises after the expiration of the lease, The rental for the premises is $1950.00 permonth
The plaintiff, desiring to regain possession of the premises, served the defendant on March 29, 2021 :

with a written notice (copy is attached}, to vacate the premises and to deliver possession to the plaintiff onA April! 30, 2021

The nlaintiff platen wantinwinga «fib. 1.2 -----° aos —

190. Plaintiff tried to reason with Mercedes Financial who had send him to collection,
to fix this, since Mercedes Financial was the one who sold him that Gap Insurance, irrelevant
who the GAP Provider was.

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191. On, May 14, 2021 plaintiff called Mercedes Financial and spoke with someone
by the name of Tjuanna who told plaintiff they could not help him because that balance of
$6,708.57, was now held by an outside collection agency.

192. Plaintiff asked Tjuanna since it is them who sold him the GAP Insurance to him
why don’t they step in and fix this, by removing the debt in collection or force the provider pay
it, since they had acted as the agents of the provider when they sold him the provider's GAP
Insurance.

193. Tjuanna said that the Mercedes Financial only financed the car and that it was the
dealer, (Chantilly Benz) who sold him the GAP.

194, Plaintiff, then, turned to read GAP Contract to see if he could find any provision
in that contract, that world have given the provider any excuse not to pay the claim.

195. The very first thing plaintiff noticed in that Contract was that that his Insurance
Provider was United Auto Care, Inc, and not Toyota Financial.

WnitedAutoCare __

BEX GUARANTEED AUTO PROTECTION PROGRAM 2 371GMK
Debt Cancellation Agreement(Addendum Debt Cancellation Agreement #_~ ~~"

Plan Code

Agreement Effective Date@8/14/2@19 00
Agreement Purchase Price 636.68

 

 

 

 

 

(PLEASE PRINT OR TYPE)

"Selling Dealer Information
Te OR

 

ee
MERCEDES BEMZ OF CHANTILLY
Address

 

 

1.4343. STONECROFT CEMTER CT. _
ie State ap Telephone

CHARTELLY VA 2153 (783)956-2005

 

 

Customer Information
| Customer Name
WILLTAR UHITTMAN

 

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196. Trying to figure out how and why he was dealing with Toyota Financial, plaintiff
learned that United did not even exists, as an active entity to offer any kind of insurance services
in Virginia.

197. Plaintiff found out, that the phone number he had been calling; (800-255-8713)
was listed in that Contract as the phone number for another inexistent company or branch of

company called Administrator and had nothing to do with United

198. From that moment on, plaintiff was forced to take painstaking affords to figure
out who his real Insurance provider was, and why had the Penske Defendants inserted these
intentional falsities in his Gap Contract that the Insurance Provider was United, and then the
Program Administrator, and then Toyota Financial, while neither one was in fact n authorized

GAP Insurance Provider.

199. Toyota Financial that is not mentioned at all in the contract as the provider,
hidden by the names of 2 sham companies, United and Program Administrator was the only
company, answering that number and claiming to be the legal entity authorized to provide these
Gap Services, despite the fact that its identify is not disclosed in the contract.

200. Further more plaintiff found out this, Toyota Financial was yet another intentional
falsity another inexistent Sham Company, that does not exists, anywhere, as a legal entity or a

registered DBA of any legal entity, authorized to transact any kind of business in Virginia.

201. Plaintiff then tried to find any information he could about this alleged Toyota
Financial only to learn that this Toyota Financial does not exist anywhere, as a legal entity or the
dba of a legal entity, authorized to provide any kind of Insurance Services, anywhere in the

country.

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202. There was no way for plaintiff to figure out, based on that Fraudulent GAP
Contract, that these Penske Defendants had drafted by, for all intents and purposes to hide the
true provider, and not expose the providers to liabilities, in their premeditated, heinous and

unlawful acts to deny any potential claim that might arise, in bad faith.

203. The Contract, however, lists the office address for provider, as a P.O. Box in

Cedar Rapids, IA. naming the provider as Program Administrator.

204. Terrified and alarmed, by all this misrepresentation within misrepresentations, in
that Fraudulent GAP Contract that these Penske Defendants had provided to plaintiff, in bad
faith, plaintiff called on May 14, 2021, the Virginia SCC to find what information the SCCC had
about, Program Administrator and/or Toyota Financial Services, and/or United.

205. The SCC had no information that any of these companies had any authority to
conduct such business in Virginia and that they had not information at all about Toyota Financial

206. Further more the SCC advised plaintiff to call the Bureau of Insurance at 804-
371-9741, to see if the Bureau of Insurance had any information for these three companies
(Toyota Financial or United, or the Program Administrator) as being authorized to offer any
kind of Insurance in Virginia.

207. Plaintiff called that day the Bureau of Insurance and spoke with an official (Nate)
who told plaintiff that neither company was registered with them and that plaintiff should call the
OFFICE OF THE ATORNEY GENERAL and speak with Consumer Protection Section at 800-

552-9963 which plaintiff did, right away and plaintiff did as directed.

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Help

, ami Gj : qaoka@vaho ‘ May 14 af 1:25 PM
} ide ri =
r To: Contact@Virginia.giv

My name is William whittman
| am struggling to find the legal entity name of a cornpany who has sold me a gaap insurance
and is not honing its obligation for me to file a complaint in a court of law

The name onthe GAAP Contract that ihe dealer sold me is "United Auto Care"
when i contact the numbers provided to file a claim the name Is listed as "Program
Administrator" with only P O.Box Number

When i call the number for the claim and the communication i have gotten from them in
writing the call themselves as “Toyota Financial Services”

When | tried to find their legal entity name and their registered agents name none of these
three appear to be registered companies to conduct business in VA.

The state Corporation and the B euro of insurance have no information about neither of these
three companies and | have been told that the Attorney general Consumer protection Section"
handles these kind of insurances in VA and should have the pretending information.

Please help

208. Plaintiff asked the office of the attorney general, on May 14, 2021 for help to find
out who amongst the three purported GAP Providers in his Contract was the authorized Gap

Insurance Provider if any of these three enteritis, were in fact the Provider.

209. The office of the attorney general told plaintiff that the Dealer (the Penske
Defendants) who sold him the Gap Insurance ought to know the exact legal name of the
provider, and that they should provide the providers name to him and explain to him how and
why thee listed on that contract those other names.

210. Plaintiff called the dealer, (Chantilly Benz), the next day, May 15, 2021 to find

out from them who the GAP PROVIDER was and why had they listed as providers some

falsities.

211. The dealer’s representative told plaintiff to speak to their financial services
Mercedes Financial and not them about this and transferred plaintiff’ s call to Megan, their

Financial Services Representative, who was not able to assist plaintiff with this.

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212. Plaintiff then send an e-mail to her (Megan) and to the Chantilly Benz General
Mismanage Bert O'Neal, for them to provide him with the legal name and address, of the Real
Gap Provider that they should be able to find on the providers’ license, as the office of the

attorney general told plaintiff, if they sold him their Provider's product.

 

Provide the legal name and address as it shows on their license for
Toyota Financial Services

Sami Gjoka <samiqaka@yahos co
To: boneal@penskeauiamotive.com,
mteymorian@penskeautomotive.com

   

 

General Manager

Mieymorian@penskeautomotive corn

   

Dear Mr. O'Neal and Megan
Please provide the legal narne and address, as it shows on their license, for Toyota Financial Services
whose product (gap insurance) you sell in the

 
 

r behalf and your explanation why your company who drafted the 2

page gap contract between the insurer and me coes has not provided on that GAP contract the legal entity narne
and the legal entity business address, as well as provide the prove you have that the United Auto Care Inc is active
to do business in VA since you keep selling their product while they are inactive as a carnpany in VAbased on the

VA State Corporation Commissian Info

Villiam Vvhittman
202-391-5582

 

This type of Insurance was presen
Benz of Chantilly on June, 14, 2019 when | pe
$35394 75

 

 

= and sold tame by you - PAG Chantilly M1 LL© and /or Mercedes-
chased from you a C-Class 2016 Mercedes for a total price of

 

213. Instead of receiving the information requested, plaintiff got an angry and
harrowing call from Bert O’ Neal, demanding to know who Sami Gjoka is, because plaintiff uses
his Albanian name (sami gjoka) as his e-mail address and having no will or desire to explain to
plaintiff why they had lied and defrauded plaintiff in that contract.

214. Plaintiff told Mr. O’Neal that Sami Gjoka is his Albanian name and that it is not
his business, because it has no relation to his demand, but O'Neal refused to provide this to

plaintiff and hanged up.

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215. Three days later, on May 17, 2021, plaintiff send these Penske Defendants
another follow-up e-mail for them to provide him the legal name of the Provider and to explain

to him while they had misrepresented the providers' name in the contract.

 

Sami Gjoka «samy qioxaleva
To: boneal@penskeautomotive.com,
mteymorian@penskeautomative.com

ii

 

To: PAG Chantilly M1 LLC and/or Mercedes-Benz of Chantilly)
Follow up

It has been 3 days that | have demanded from you what prove you have that the "Toyota
Finical Services", under whose interest, you sold the GAP Insurance to me, is a legitimate
entity to provide insurance coverage and you still have refused and continue to refuse to
provide its legal name or DBA and the reason why you have fraudulently concealed the legal
name and the legal address of this entity drafting the "GAP Contract" between me and
another yet party that is not Toyota Financial Services although you have only put the Toyota
insurance Number as the only contact of this bizarre company on the contract drafted
fraudulently by you.

Your reason on Stater day May May 15th (Bert O'Neal - General Manager for

the Chantilly Location) to refuse to provide such information because | use my Albanian
name "Sami Gjoka (Samigjoka@yahoo.com) as e-mail dress is irreverent and ridiculous and
is non of your business- your business is to provide me with he correct legal name and legal
address of this bizarre "Toyota Financial Services" that exists no where as an legal entity and
that a such could not have been made party to any contract but only with its legally known
registered name or with its legally Known DBA.

 

 

 

216. Plaintiff meanwhile was forced to do more painstaking searches to find on web
who his real Gap Insurance Provider might be, and while searching for Toyota Financial
Services Gap Insurance, the only thing plaintiff was able to find was a company called Toyota

Insurance Management Solutions USA, LLC (TIMS).

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C qle Toyota Financial Services Gap Insurance x § @
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bout 45.40 }results (0.59 sec 5}

Ad - https vAvewtoyotaims.com’ = (877) 245-00

Toyota Insurance Management - Connected Toyota Insurance

(] Toyota drivers the cost of Insurance, Qualifying
D Receive 4 10% Discount Irmediately, with up to 40% Upon Renewal, Bundle With

     

the best value and service while reduci

 

  
     

Homeowners. 10% Discaunt. Accident Forgivenes fo 40% Savings
Contact Us FAQ's
Need To Talk To An Insurance Pro? Ask Us Anything
i] Gr Email Us Today! Ve Make Insurance Easy

 

 

 

217. Plaintiff then tried to search if Toyota Financial perhaps, existed in the past as a
legally known insurance provider or if it was still legally authorized to provide such insurance
services in some other US States, but had failed to update whatever documents ion Virginia, that
could have been a honest mistake in their part, but not fraud, and plaintiff found no information
anywhere that this company was or had ever been authorized anywhere to provide any kind of
Insurance services.

218. All the information plaintiff was able to find about Toyota Financial, was that a

company by that name appears to operate in IA.

 

 

Toyota Financial Services

Webarte Directions Save Call

Address: £075 i Piver Btvs NE, Ceder Rapids |

Asy
Hours: +.

Phone: ( I<

 

 

 

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219. Based on its own advertisement, on the internet, Toyota Financial is an authorized
auto loan provider though plaintiff could not find this company listed in any Va. State

department, as such, either.

 

httes: /Avwew mapquest cam > i oye ha ‘
Toyota Financial Services 5005 N River Bivd NE Cedar .. ri
t directions, re nd information tor Toyota Financial Servicus in Cedar Rapic e
People also ask
See photos Map dota Cond!

 

How do) contact Toyota Financial?

Toyota Financial Services

How dol make a crincival cayment to Toyota Financial?

lav do | make a principal payment to Toyota Financia naam seuuine =e ex
tow do | pay off Tovota Financial? 1 81 Googie reviews

How do | pay my Toyota car payment

Adtiress: 5006 " River Blvd NE, Cedar Rapids, AS2411

 

fours: OF
https. “Awww. yelp corr Aid ian Providers "hove: (313) 2.
TOYOTA FINANCIAL SERVICES - Auto Loan Providers - 5005 .. suggest an ed
ID-19 Updates S04 N Rive! {NE GedarRapkis, A241) Director :
0 Ne Mor fg, Hours

Know this place? Share the latest info

 

 

TOYOTA LogIn Register Q a

Financial Services

 

 

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Apply for Credit Special Offers

 

Let’s start the process Solutions to help keep yol Flexible and convenient Amazing deals in your

togethet on the road options. local area.

 

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220. The only Toyota Company, authorized to transact any insurance related services,
in Virginia were: Toyota Motor Insurance Company (Toyota Insurance), and Toyota Insurance

Management Solutions USA, LLC, (Toyota Solutions).

221. While Toyota Financial does not exists as a legal authorized Insurance Provider

it, advertises itself nonetheless as such, on their Toyota Financial Services Guaranteed Auto

Protection Online Brochure.

    
 

Guaranteed
Auto Protection

Payment Protection Plan

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Auto Insurance Sattlement ees 8c) Autn insurance Settement belore deductible is applied
PEAT

Auto Insurance Deductible eo dAe, : BAP pays up to $1,000 of your auto insurance deductible?

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(For iikgtrptioe purposes oly Indivdedt expediences nay vam)

  

poy off your finance or lease controct

222. Toyota Financial, plaintiff found out had an online Brochure explaining how GAP
works

223. Responding to plaintiff's e-mail request, send to Chantilly Benz & Mercedes
Financial, on Friday, May 21, 2021 at around 1:26 PM, plaintiff received call from a Michigan
Area Code telephone number (248) 648-2520.

224. The caller told plaintiff that she was Mercedes Benz Legal Department.

225. The caller told plaintiff, that they had not denied his claim but he (plaintiff) had

not filed the Claim.

226. This struck plaintiff, as an arrogant and dishonest denial of the facts, because,
plaintiff had filed the Gap Claim since Jan 6, 2020.

227. But, what shocked and surprised plaintiff even more was the fact that this
individual claiming to be from Mercedes Benz Legal Department was speaking on behalf of the
Toyota Financial, stating that plaintiff had not filed the claim, and that’s why they (THEY) had

not paid it, yet.

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228. Further more this caller from Mercedes-Benz Legal Department, as she said she
is, distorted plaintiff's request, to know the /egal name of the Gap Provider, telling plaintiff that
the they would provide him with the address of "United" who is not the provider and she knew
this, more than anyone being even from the legal department of these Penske Defendants
229. Plaintiff felt insulted and taken for a fool because plaintiff had not asked them for

the “United” address” but only to know why had they listed_United in the Contract, as the

 

Provider, knowing it to be false.

230. Plaintiff interrupted her, by telling her; "please stop playing this dirty game with
me" and told her: "You sold me this Gap Insurance and you have falsely expressed, in the gap
contract that United is the Insurance Provider while United is not” and

231. Plaintiff, told her: “You are lying and denying the fact that I have filed the Gap
Claim, since January 6, 2020”.

232. Plaintiff told her that Toyota Financial not UNITED had denied his claim and that
no claim can be denied unless, first, it has been filed and demanded to know why she was
claiming we have not denied your claim, when they are not the Provider.

233. Plaintiff told her again that: "/ have not asked you for the address of “United” but
for the legal name of Real GAP Provider which does not seem to be Toyota Financial either."

234. Plaintiff told her, that, to him, she dealers, the financing institution, and the
insurance provider, and even this legal department, were all one and the same, involved in
unlawful acts to cheat, deceive, eluding and defrauding to deny the claim in bad faith and to hide
the real Provider so plaintiff ahs no clue who to sue for his denied claim in bad faith.

235. Plaintiff told her, that they were liable to plaintiff, now, not only for the unpaid

balance of the car loan, that should have been paid since more than a year ago, but for having

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harmed and damaged him with his ruined credit much more severely, that they would have
imagined.

236. Plaintiff demanded from her that day to make sure she understood what plaintiff
was saying, before they hanged up, because, plaintiff told her: "J am a foreign born American
citizen and some time even my own kids do not understand what I am saying in English".

237. The caller assured plaintiff that she understood him well and she insisted again to
tell plaintiff the address for United that plaintiff had no need for and had not asked for, at which
point plaintiff told her to stop and to understand that he had no need for the address of United
and that he had not asked for it, but rather he wanted to know from them who his real provider is
and why they had misrepresented that it is United.

238. The caller told plaintiff that she could not provide that information to him right
away but that their legal department would provide that information to him, by Monday, May 24
and yet. they did not.

239. On May 25 plaintiff called the same number (248) 648-2520 but got no answer.

234. Plaintiff left a messages, with them, but did not get any response.

240. On Tuesday, May 26, 2021, plaintiff called back this Legal Department to ask
why they had failed, to make good on their promise, but again no one answered except a female
recorded voice message, stating word per word "J am not available to take your call, please
leave a message".

241. Plaintiff then decided to search that phone number on internet to see if that

number belonged to Mercedes Benz Legal Department.

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242. That number, plaintiff found out to belong to an individual by the name of
Deirdre Thomas who appeared to work as an attorney for Toyota Defendants and not Mercedes-
Benz, as she had represented to plaintiff.

243. Searching the name of this individual, Deirdre Thomas, plaintiff came across, a
letter on web, written by this individual, in behalf of Toyota and not in behalf of Mercedes-Benz,
as she told plaintiff she works for.

244. On May 26, plaintiff called Mercedes Benz Legal Department at (248) 648-2520,

again to talk to her but again no one answered.

 

 

a | PERSAE
Automotive

 

DEIRORE L. THOMAS
Manager, Legal Services and Operations

June 29, 2020

Claudel Trajan

The Law Office of Claudel Trajan, P.A.
803 Lake Avenue

Lake Worth, FL 33460

RE: jrina Vitalyevna Danilova
2020 Toyota C-HR;: VIN: JTINKHMBX6/1006332
=

 

 

 

245. Then, at the end of the business day, around 4:30 PM that day, plaintiff wrote
again to the Penske defendants, at the Chantilly Benz Location in, yet, another attempt to get the
information he was looking for.

246. Plaintiff asked the Penske Defendants, again to provide him with the information

he needed.

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Sami Gjoka <saniqexa@yser as, Wed, May 26 at 4:28 PR
Te: boneal@penskeautomotive.com,

mteymorian@penskeautomotive.com

Another Atterrot

Dear Mercedes Benz officials
Last week on Fnday 21 your Mercedes benz legal department called me and assured me that by Monday | will

| have from you the legal entity name and the legaty known office address for the insurance provider and the
explanation why you have listed on thus gap cantract as ny insurance provider a company that has nothing to do
with henriag thus gap insurance
Yet you and or your Mercedes legal department hes aot send such information neither on Monday nor in Tuesday

and | de not have anything at all even at thrs point

| have called that number where | was called on your behalf and a fernale veice sounding more like a street thug
than @ legal department profesional only says only" im not available to take ur call and please leave a message
and mention nothing of being a legal departrnent of any one and never calls back

if you have hired an attorney to deal with thus matter or you really have a legal depahandling it please respond by
telling me who the legal departrnent contact information and designated attomey is or please stop this hinious acts
and provide me as you should by the responsibilities of the duty of care the information | Keep asking you to
provide

  
 

 

 

ent fraro.Yehoo Mail on Android

 

447. On May 27 Mr. O’Neal replied to plaintiff and provided plaintiff with the legal
name of the GAP Provider, listing the Gap Providers as three Legal entities, and all Toyota
Companies, and all registered with the VA. SCC, as the e-mail expressly implies but none being
Toyota Financial as the plaintiff had been, intentionally and deliberately, mislead to believe, by

them till that day.

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O'Neal,Bert «boreal @penseeaut se, Thu, May 27 at 10:10 AM
BY = to: Sam Gjoka

Mr. ¥Vhittrren,

 

The inforrnation below was found on Virginia’s Business Entty Search website and is a matter of public record. VVe are
hons “eis sco virginig gowe nityoe arc hfinge:
Please note the program administrator for the GAP coverage is Toyota Mater Insurance Seraces, Inc. and the insurer is

Business Entity Search Results

 

 

 

    
     
  
 

 
      

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F1136789 TOYOTA MOTOR INSURANCE SERVICES Former Name Stock Corporatio
F1136789 TOYOTA MOTOR INSURANCE SERVICES, INC. Former Name Stock Corporatio
F1136789 TOYOTA MOTOR INSURANCE SERVICES, INC LegalName Stock Corporatio

eres ry asa tae i

 

248. On Friday, May 28, someone claiming to be from Toyota Financial, called

plaintiff about this claim.

249. Plaintiff asked for her name and she said her name is Michelle, refusing to tell her
full name, as her company policy.

250. Plaintiff demanded to know her name, telling her that he did not see anything
wrong for her to provide him the full name.

251. Michelle said she will provide only the first initial of her the last name.

252. Plaintiff was very unhappy with his hesitation and said to her, that this is not an
escort service or a strip club for her to give him her stage name, explaining to her that he needed
her name to know exactly who he spoke to, if he had to refer to this call in the future, since they

kept changing the story at every single call, in bad faith, as to why they were denying his claim.

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253. The caller then told plaintiff that her name was Michelle Knospse.

249. Plaintiff then asked her: “You said you are from Toyota Financial Services” and
she said: “Correct”.

254. Plaintiff asked her; if she was aware that Toyota Financial Services does not exist,
as legal entity and asked her if she was sure that her company's legal name was Toyota Financial
Services.

255. She said: “Yes”.

256. Plaintiff asked her if her pay check lists her company as Toyota Financial
Services, explaining to her, that he had done his search and had not found anywhere that there is
a legal entity called Toyota Financial Services that is authorized to engage in insurance related
services, or that could possibly pay her, her check.

257. Michelle Knospse then said that her company is Toyota Motor Company.

258. That was the very first time, in almost 2 years dealing with this company that
someone was forced to admit that they had been lying all along about who they really were, to

make it impassible for plaintiff to seek justice against their harmful and unlawful acts of bad

faith.

259. Plaintiff then asked Michelle why she had called him

260. Michelle said that she had called To help him with a problem he was having with
the claim.

261. Plaintiff asked her how did she know he was having a problems with the claim.

262. She said: “Because Mercedes Benz has told us".

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263. Plaintiff said to her: “Are you telling me that the same Mercedes Benz who has
allegedly refused to provide you with may payoff information for you to pay the claim, is having
no problem to providing you with the content of my e-mail?’

264. She said; “Yes”.

265. Plaintiff asked her why GAP Contract he has, lists United Autocare Inc, as his
Gap Insurance Provider, while she said her company is Toyota Motor Company.

266. Michele said; “Because United and Toyota is the same company”

267. Plaintiff then asked her; “And how can You, & United & Toyota Financial, &
Toyota Motor Company help me today?”

268. She said: “You need to file the claim for us to be able to help you and you have
not file it yet and that’s the reason we have not paid your claim".

269. Plaintiff told her: “Can you please then explain to me how have you denied my
claim is my claim has not been filed?”

270. Michele then said: "We have denied your claim because you have reported that
your car was Stolen or lost".

271. Plaintiff than said to her "Let me get this straight. You are telling me that when I
called to report to you that my car was stolen or lost, that I might have perhaps mistaken you for
the police department, asking you to find my car and not to pay my claim?"

272. Michele then changed the story again, telling plaintiff that the claim was filed but
the needed additional documents were not provided to them for them to pay the claim.

273. Plaintiff then told Michele that he was tired of their games, changing the story
every second why they had not paid his claim, and told her that he needed them to write to him,

via e-mail why they have denied his claim, a claim that allegedly he never filed, and yet a claim

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that was in fact filed but denied because some requested documents were not received and to
specify exactly what documents they needed from him in order for them to pay the claim.

274. Ms. Knospse said that she wil] mail that him but not e-mail because they were not
allowed to communicate via e-mail.

275. Plaintiff said to her that, that he did not understand why they, in this day and age
when companies prefer e-mail, communication because it is a faster and more convenient and
easy to trace they did not.

276. Michele Knospse said she would do an expectation this time and e-mail him by
Monday, May 31, that turned out again to be another lie.

277. Monday, May 31, was a holiday and plaintiff did not mind not receiving anything
from them, believing he would get the e-mail the following day, but they did never e-mail
anything to plaintiff.

278. On, June 2, 2021, plaintiff called “Toyota Defendants” to ask if they had perhaps
misspelled his e-mail address since he had not received anything from them yet.

279. The representative who answered the phone, introduced himself as Chat, refusing
to provide his full name, as company policy.

280. Chat told plaintiff that they had an old address for plaintiff, on file and that this is
the reason why he had not gotten their how to apply for the claim package.

281. Plaintiff explained to Chat that his claim has been already fled since almost 2
years ago and that he was supposed to receive from them something via email.

282. Chat, told plaintiff that he was pulling up plaintiff's claim (a claim that shouldn't

exist if not filed).

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283. Chat, then said to plaintiff that he was reading some notes in the plaintiff's claim
and then he said to plaintiff that they had send him, on May 18 a GAP Claim Kid.

284. Plaintiff asked what that is and chat said it is an instruction how to file a gap
claim.

285. This was another Mary-Go-Around, in bad faith, for plaintiff and Plaintiff
demanded to speak to Michele but Chat said they don’t have any Michele and that he does not
see any notes, that a person named Michelle. has ever spoken to plaintiff about this claim.

286. Chat said that if someone named Michele spoke to you, there will be notes
evidencing that.

287. Chat said that the only note he sees, regarding his claim is from June 10 of the last
year, when plaintiff spoke with Kevin, and it looks, from notes, Chat said, that you were
disputing the denial of the claim, at that time.

288. Plaintiff insisted that he had spoken only a few days earlier with someone who
claimed to be Michelle Knospse.

289. Chat then said that the last communication noted in his claim was with Lisa not
Michele and that, the communication between him and Lisa allegedly took place on May 18
when Lisa supposedly reopened the denied claim, a claim that also, according to them, was never
filed.

290. Plaintiff insisted he has not spoken to any Lisa and that he was asking for
Michelle Knospse who had called him last week and promised to e-mail him some documents.

291. Chat said: "Jf you did speak with a Michelle and there is no evidence here to

prove this, there is nothing I can do for your regarding this" and

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292. Chat added, that" "Al/ I see here is that Lisa has reopened your claim 2 weeks
ago".

293. Plaintiff asked Chat to help him find out who Michelle Knospse is.

294. Chat said, that there is no Michele working there.

295. Plaintiff said to Chat. "Are you telling me that I have been lied gain by your
company that day?"

296. Chat then said; "J know a Michelle but she has not called you and she has not
made any notes about a phone conversation to you".

297. Plaintiff demanded to speak to that Michelle.

298. Chat said this is not possible because she works remotely, whatever that meant,
that still does not make any sense to plaintiff because Chat and plaintiff were not talking in
person either.

299. On June, 2, 2021 Toyota Defendants had written to plaintiff , directing plaintiff to
start the claim by contacting the financing institution (Mercedes Financial), something plaintiff
had already done almost since 2 years ago and that they knew it because they contacted plaintiff,
on Friday May 28, to tell plaintiff that the Mercedes Benz had informed them of the Total Loss.

300. Toyota Defendants were again trying their bad faith tactics to delay and deny
asking plaintiff to start all over again do the same thing done already till plaintiff decides to give

up or the time to honor the claim expires.

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GPTOYOTA ,
FINANCIAL SERVICES (am Agreement Sumber, 7725261
P.O. Box $550 vatecs information: 2016 MERCEDES-8

Cedar Rapids. 1A 2409-9550 c

Vahicls identification Number: WDDWF4KB3GR 143308

June 02, 202) ,

WILLIAM WHITTIMAN
100 N WASHINGTON $7 SUITE 200
FALLS CHURCH VA,22046

Dear WILLIAM WHITTMAN:

We are sory to hear about the total loss of your 2016 MERCEDE®S-8 C. Fortunately, you purchased our Guaranteed Auto
Protection (GAP) product. We will work hard to handle your clair as quickly as possible. You can help by following our
step-by-step instructions.

In orcier to review your GAP claim, we need some information and certain documents. Please ensure all correspondence
includes your agreement number as noted above. | is important thet we receive complete and accurate information
and documents in order to process your claim, We promise to make o decision on your claim within (30) thirty days of
receiving all of the required information and documentaticen.

IT IS YOUR RESPONSIBILITY TO ENSURE THE DOCUMENTS REQUIRED BY YOUR GAP AGREEMENT ARE PROVIDED TO US IN ORDER
TO PROCESS YOUR CLAIM.

For best results. please follow these steps:

1. Sign the attached form and fax or mail it to the finance company. This gives them permission to share your
account information with us. a

2. Immediately contact any companies providing addifional coverage (such as Vehicle Service Agreements.

Excess Wear & Use Protection Plans. Prepaid Maintenance Plans. Credit/Life Products, etc.) and request

cancellation of these products or if you prefer, contact the selling dealership for assistance.

Once your insurance company has made payment to your financial institution, follow up with your finance

_company fo make sure they sent us the required GOCUMENTS. em nem --

Ca

301. On July 9, 2021, while plaintiff was searching for a rental place, from as far as
Would bridge and Manassas in VA, to Annapolis and Baltimore in MD, plaintiff received a
disturbing and harassing phone call from Northstar Location Services, LLC.

302. Northstar was trying to collect the debt they had for the amount owed to the

Penske Defendants, by plaintiff that ought to have been paid in god faith Toyota Defendants.

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303. Northstar was now calling plaintiff, nonstop, and it terrified plaintiff to answer the
phone being with his clients or employees something plaintiff did not have to go through, had
these defendants not acted in bad faith.

304. A Northstar representative, told plaintiff, in one of their calls that, even if plaintiff
disputed that debt in collection, it still was better fro plaintiff to pay it than fight for it and spend
more to resolve than just pay it and let it go.

304. Northstar emailed plaintiff, the information about this dept, on Jul 9, 2021.

305. On July 11, 2021, devastated bu the fact that the Eviction Hearing was
approaching and he had not been able to find a place to relocate, because no one wanted to
accept a tenant in collection and with bad credit, plaintiff called, out of desperation, a different
loan officer, (Shap Bashar), plaintiff had worked before to see if Shap could find him a loan, that
Tim could not, with a bigger down payment, and with someone co signing for him.

305. Plaintiff told Shap that his credit was severely damaged by a judgment of about 7-
thousand dollars that he did not owe but was in collection against him, nonetheless.

306. Shap informed plaintiff that the co-borrower does not offset the bad credit and
that in terms of mortgage qualifying. the only reason to get a co-signer is for income purposes.

307. Shap wrote to plaintiff that: “Good credit never offsets bad credit and
FNMA/FHLMC who buys most of the loans out there, will likely have a problem just like Tim
had mentioned.

308. Plaintiff could not rent and plaintiff could not buy and plaintiff was pressed for
time to find a place, for his kids, before the landlord/tenant curt would throw his kids on the
street under tenant holding over causes of actions, all because of these defendants acts of Bad

Faith.

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SHAP @wellsfargo.com « shaptiwe sfargo.co = sun
To: samigioka®yahoo.com

 

Hi Sarni
I'm really sorry to hear all this. | have a friend that sues banks for a living (mostly for APR and loan terrn violations)
I wonder if he'd be interested in helping you. Let roe know if you'd like his information

    

 

\n terrns of morigage qualifying, the only reason to get a co-signe: is far ncome purposes. Good credit never offsets bad credit and
FNMA/FHLMC who buys most of the loans out there, will likely have a problem just like Tim mentioned

There are obviously some sub-prime lenders but you'll pay extra farthem |can give you a name if yau like.

 

| hepe this works out Let me know if! can do anything.

Thanks
Shap

Shap Bashar

Private Mortgage Banker

New Construction/RELO/Military Lending Specialist

idents Club

NMLS ID: 481139

Wells Fargo Home Mortgage | 7475 WISCONSIN AVE, 3RD FLOGR | BETHESDA. MD 201614
MAC R1096-020

Direct 703.757 2977

Fax 886.969.3870
Shan Fashanaint
apbasharcom

Pres

 

 

   
   

 

wy

 

 

Mortgage Team

 

309. As of July 19, 2021 the Gap Provider had still had not, decided to pay his claim,
though now again they had changed the story, claiming that plaintiff had, in fact, filed the claim

since Jan. 6, 2020.

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Q@TOYOTA

FINANCIAL SCFVICES

   

Customer Service Center - Central
P.O. Box 9550
Cedar Rapids, 7A 52409-7550

JUNE 19. 2021

WILLIAM WhITTMAN
100 N WASHINGTON ST SUITE 200
FALLS CHURCH, VA 220464516

Agreement No.; GAPO7725261

Claimant WILLIAM WHITTMAN
Date of Loss: DECEMBER 12, 2019
VIN: WDDWF4KE3GR143308
Dear WILLIAM WHITTMAN:

On JANUARY 07, 2020, Toyota Financial Services (TFS) was notified that you might have a potential Guaranteed
Auto Protection (GAP) claim. As of JUNE 19, 2021, we have not recaived the documentation needad to process
your daim, as required by the terms of your GAP agreement. If a response or all the required documentation is not
received, we will be unable to process your claim

TFS values you as a customer and appreciates this opporunity to review your request. If you have any questions,

please contact the TFS GAP Customer Service Depariment at 800-255-8713 between the hours of 7:00 a.m. and
7:00 p.m. CST, Monday through Friday and 800 am. end 100 p.m CST Saturday
Sincerely,

Toyota F nancial Services
Claims Department
File No: 371GMK

 

 

 

310. On August 18, the noose in the plaintiff's neck was getting tighter for him to
relocate.

311. Plaintiff kept offering to pay the entire annual rent upfront and in advance just to
get a place to shelter his family and still no one was accepting him, because no one had a need, in
a hot rental real estate market, for tenants with bad credit

312. At the end of July, plaintiff found a town home, in Howard County,

Plaintiff contacted the listing agent, via e-mail and offered to pay the entire annual rent upfront
and in advance.

313. Being afraid, desperate and pressed for time, plaintiff took snapshot of the email

text and texted to the agent’s cell number

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Sami Gjoka <samicjoka@yahoo.com > pa @ Wed, Aug 18 at 10:37 AM
To: Andy Ahn

 

Andy | send you an Offer that no landlord can deny- Attached please find:

1 Rental Application

2. Up to date Income for 2021

3. My Drv. License

4 My Biz (Real estate) Licences

5 My Biz. Inf (Biz Card)

6 ist Month Rent paid to Realty

7 The Entire Annual Rent paid to Jong B. Lee & You Sun

| would like to finalize today (tonight or tomorrow) | will have the checks with me
to bring to you once we ready to sign the lease---ihanks Andy

If you want me to write the checks differently please let me know
Sami
202-391-5582

Ww Origitial message

 

$ Dowrload all attachments ac a zip file
ret

 

314. The agent informed plaintiff that the landlord did not like the fact that the
plaintiff's credit score was so law despite the fact that plaintiff offered to pay the entire rent
upfront and in advance. and they demanded to know why his credit was so low.

315. Plaintiff explained in detail, to them, how and why his credit was ruined.

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ii

é ‘ Sami Gjoka <:arnigjokagdyahoa,com>
¢ Te: Andy Ahn

Andy the reason my credit score has come down so law is because i purchases a Mercedes car and bought
@ gap insurance 4 couple of years ago

| bought at that time an insurance called GAP which supposedly, if your car is totaled, it pay the difference
(the gap} between how much you still owe and how much the car is worth.

greement and i have been fighting with them- Yes |
y fault and i am seeking legal help for this

My car was totaled and the Gap has not honored the a
know they ruined my credit but this is not because of n

 

 

 

Please make sure this does not disqualify re- | need that place and need to move soon,

That's why i am offering to paying the entire annual rert upfront not because | have so much money to risk
but to assure the landlord looses nothing because of my ruined credit.

Sami

Sarno

 

 

316. Plaintiff, was now grilled and interrogated, going though embarrassing and
harassing experiences he did not have to go through, if not for these defendants bad faith.

317. The listing agent did not respond to plaintiff's explanation.
On August 2021 plaintiff sow on the MLS that an old friend of his (Frank) who plaintiff used to
work with, years ago in the same office at the Fairfax Realty, had listed a condo for rent in
Reston VA.

318. Plaintiff thought that Frank perhaps could, be able to convince the landlord to
accept plaintiff as his tenant despite being in collection and having a ruined credit now.

319. Frank said to plaintiff if it was my own home I would rent it to you in a heartbeat
but I can't possibly tell my client to ignore this.

320. Plaintiff then found another condo, on a ground level, in Falls Church, VA that
had no refrigerator, no stove and had a lot of problems with lightening and fixtures, that plaintiff

thought no one would apply for and plaintiff out of desperation, was willing to get, still offering

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to pay the entire annual rent upfront that no one in his right mind would have, till the place was

first at least made livable.

 

[a 2902 Kings Chapel Rd #2, Falls Church, VA 22042 Active Residential Lease $2,200
m7) MM - - Hamet 2h ele sao" e  - @
} E MLS #: VAFX2013613 Beds: 3 Baths: 2

MLS Area: Date Available: 08/06/21
Legal Subd: YORKTOWNE SQUARE CONDO Min/Max Lease/Months: 12 / 24
Subdiv /Neigh: YORKTOWNE SQUARE AbvGrd Fin/Total $qFt: 1,158 / 1,156
$chl District: Fairfax County Public Schools Acres/Lot SF:
Parking Type: Parking Lot Structure Type: Unit/ Flat/Apartment
Total Parking Spaces: 2 Basement: No
Heat: Forced Air / Natura! Gas Water Oriented /Name: No
Cooling: Central A/C / Electric Furnished:
Pets: No Tenant Pays: Light Bulbs/Filters/Fuses/Alarm
Rent Includes: Air Conditioning, Common Area Care, Minor Interior Maintenance

Maintenance, Electricity, Gas, Heat, HOA/Condo Fee, Lawn DOM: 23
Service, Parking, Sewer, Snow Removal, Trash Removal,

Water

List Agent: CHI

 

 
 

(JS “ANG (3107574) (Lic# Unknown) (571) 267-9632
Re wing, (UPR1) (301) 309-8859

  

no
.

1/7 “ © Db
Showing Contact: Chunhua Yang (S71) 267-9632 Showing Info: In-Pers

 
   
 
  
 

n Only 12 Hours Notice
Agent Remarks: Call/text listing agent Chunhus Yang with questions 571 -9692 ------- There is a $50 application fee per applicant. Well qualified
applicants will be considered if they meet the following quidelines: 1, Credit score: Al| accounts paid as agreed, no derogatory accounts or accounts in
collections. High credit score for each applicant. 2. Incorne: Proof of household income for 3 times the monthly rental rate 3, Rental History: No history of
evictions, late rental payments or missed payments. Landlord references provided for the last 3 years.

Directions: From Gallows Road, Go East on Gatehouse Road, Gatehouse Road will turn into Charing Cross Road. Turn right onto Chanute Road, Turn Right

on Kings Chapel Road. Park and then walk to the entrance of the property.
Please note: To reduce the number of printed pages, Remarks will only display the first two lines when printed.

 

 

 

321. The address for this condo was; 2902 Kings Chapel Rd #2, Falls Church, VA

22042.

322. Plaintiff had no options left but get this unit, as is and he contacted the listing

agent CHUNHUA YANG about this.
323. The agent sent plaintiff the rental application package via e-mail, and plaintiff

rushed to his office to get the application package ready.

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2328 HaONSGSEEEB Baa

idlords A
¢ Teg eedions Agent & a

157126

a chunhuayan
gi@gmail
COM 105A

 

& Okay

Fa n"7

 

324. Despite the fact that this condo was in distressed shape, and not habitable in the
present condition, and despite the fact that plaintiff offered to pay the entire annual rent upfront
and in advance, the agent, came back and informed plaintiff that they were looking for someone
with good credit.

325. Plaintiff was forced for this reason to explain to the listing agent why his credit
was damaged and why they should accept him.

326. Plaintiff explained in that e-mail to the listing agent why his credit was bad and
why they should rent to plaintiff, stating word per word: “My credit score was severely damaged
because of a judgment (car Insurance, dispute we have) and don’t let this scare you because you

have me ready to pay you the entire year upfront.

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Sami Gjoka «sami gjyokag > peg = Sat, Aug 21 at 3:03 PM
To: chunhua yang

 

Dear Chunhua Yang

Please be aware that my credil score was severely damaged because
of a judgment (car Insurance, dispute we have) and don't elt this scare
you because you have me ready to pay you the entire year upfront.

| can't fix it because | cannot pay this judgment, because the insurance
is suppose to pay it and if | pay they will not give a damn.

This has happened because a couple of years ago | bought a
Mercedes from a dealer in Chantilly

at that time the dealer offered me an additional insurance called GAP
and provided by Toyota Financial.

That Gap insurance was supposed to cover , in case of accident when
the car is totaled, the Gap (difference) between how much you still owe
and how much the car is worth when it was totaled.

My car was totaled a year later because someone stole and crushed it
- the Gap Insurance refused to pay trying to delay and deny and now
they want to pay it because | am seeking legal help but they have
already ruined my credit and | want them to pay for it

This though should not make your client worry because in my part | am

327. Plaintiff included in that e mail all the needed documents for the siting agent to
qualify him and notified the agent to: “Please find Atiached the: 1) Rental Application, 2) Up to
date Income for 2021, 3) My Drv. License, 4) My Biz (Real estate) Licences, 5) My Biz. Inf (Biz
Card), 6) The Entire Annual Rent paid to Jing Zhu $25200.00, 7) The Security Deposit of
$2100.00 paid to Jing Zhu and 8) The first rent of $2100.00 Paid to Jing Zhu!”
To make sure plaintiff would get this place he told them that he would take the unit as it is with
no working appliance, and that he would buy the appliances himself, from his pocket and not

even take them with him at the end of the lease and only if he stayed for a second year he would

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let them deduct the expenses of buying them from the second annual rent as seen incorporated
here word per word: “The kitchen is missing the stove and that is landlords responsibility - I will
not have a use of the refrigerator to buy and take with me when i leave, but if the landlord wants
I can buy it and deduct from the next total annual rent”.

328. They still refused to rent to plaintiff because to them good credit was the most.

329. Plaintiff was not able to find a place to relocate before the Court, ordered plaintiff
out, and threatened him with eviction in 10 days, if he did not move before that time.

330. Plaintiff has appealed the eviction, though he no longer lives there, only if the
court will be able to erase this record from his personal information, based on the fact, that this is
due to other bad actors acts of bad faith, but there is no much hope that this will happen.

331. Therefore plaintiff has brought this civil action for relief after exhausting all
possible means to resolve this outside the court.

332. Just before filing this Claim, plaintiff contacted Toyota Defendants again and
spoke, on Monday, Dec 6, 2021 with Kyle, person plaintiff had spoken on Feb of 2020who told
plaintiff after plaintiff provided him with the payoff information, and informed him that the
Trexes had paid its part to Mercedes Financial, that they were going to pay their part of the claim
within pay their part within 5 business days,

333. Kyle told plaintiff on Dec 6, 2021, that his claim is denied, because they have not
received the needed documents to approve the claim.

334. When plaintiff asked Kyle what documents do you need, Kyle said: “I don't know
but it says here we need some documents

335. Plaintiff has exhausted all the possible means to resolve this matter without

involving the court, plaintiff has provided these defendants timely and promptly whatever they

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needed as soon as they needed something concrete and specified from, plaintiff for them to pay
the claim, plaintiff has been harmed and inured with loses that exceed 300-320 consequential
(actual damages alone only for the rental house he lost that could be his and could have profited

him that amount, without all harms and damages as stated above

THERFORE the relief for Actual, & Consequential & Punitive Damages and for Court
Costs and Legal Fees if legal representation will be hired at any stage of this prosecution of this

claim are just and proper and plaintiff prays for the sought relief.

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